      2:20-cv-00334-RMG         Date Filed 05/17/20      Entry Number 73        Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF SOUTH CAROLINA
                                     CHARLESTON DIVISION
                                           In Admiralty

                                                )
                                                )
                                                ) C.A. No. 2:20-cv-334-RMG
                                                )
 Carl Schröter GmbH & Co., KG,                  )
                                                )
        Plaintiff,                              ) MOTION TO INTERVENE
                                                )
 v.                                             )
                                                )
 Smooth Navigation S.A.,                        )
                                                )
        Defendant                               )
                                                )

       The Intervening Plaintiffs, Khader I. Allahawani; George C. Angeles, Jr.; Enrico C.

Bargos; Mark Anthony G. Bayudan; Geruncio B. Bondalo; Carlos D. Cabral; Sharewin B. Diaz;

Fadi R. El Seddik; Leo A. Jomento; Regin M. Labesores; Honorato F. Nufuar; Alan B. Pableo;

Zaldy A. Ronquillo; Greene Gregory R. Sanchez; Joel T. Santillan; Arnel P. Silvan; Wilmer G.

Verdeflor; Miller B. Villarez; John Harvy P. Vipinosa; Clyde Jayvee B. Ylagan; and Haryl Jay Q.

Zacarias, (hereinafter “the Movants” or “the Crew”) hereby move, pursuant to Rule 24(a)(2) of the

Federal Rules of Civil Procedure, to intervene in the above action and file a verified complaint in

rem against the property at issue in this case. This filing is intended as a full explanation of the

motion in accordance with Local Rule 7.04, DSC.

       Procedural Posture

       This matter involves a maritime attachment of the Liberian-flagged bulk carrier vessel M/V

EVOLUTION (“the Vessel”). The Plaintiff filed this action on January 30, 2020. The Court

ordered issuance of a warrant of attachment the following day (Entry No. 9), whereupon the Vessel

was attached and detained by the United States Marshal. The Court ordered an interlocutory sale
      2:20-cv-00334-RMG           Date Filed 05/17/20       Entry Number 73         Page 2 of 5




of the Vessel on April 22, 2020 (Entry No. 65). The Vessel is scheduled to be sold at public auction

on May 19, 2020 (Entry No. 68).

        Facts

        The Movants are the Vessel’s officers and crew. The master, Khader Allahawani, is a

Jordanian national, and the chief engineer, Fadi El Seddik, is Lebanese. The remaining officers

and crew are Filipino. All are employed aboard the Vessel pursuant to employment contracts with

the Vessel’s owner or operator, Beta Maritime Corp. They have not been paid their wages since

the Vessel was attached, although they have continued throughout to perform their duties.

According to the undersigned’s current calculations, the Crew are owed the following: Wages due

from the Crew’s last payment to the date of attachment of the Vessel in the amount of $55,469.08;

wages due from the date of attachment through May 19, 2020, in the amount of $299,542.96; and

a bonus due on sale of Vessel in the amount of $42,306.00. In addition, some or all of the Crew

are likely to be due repatriation expenses unless they sign on as crew for whoever purchases the

Vessel at auction.

        The Crew’s Lien for Wages

        Maritime law has long recognized a maritime lien for the “[w]ages of the ship’s master and

crew.” THOMAS J. SCHOENBAUM, ADMIRALTY AND MARITIME LAW (3D ED. 2001) § 7-1 at 436.

Courts have described crew wage liens as “sacred liens,” for which, “as long as a plank of the ship

remains, the sailor is entitled, against all other persons, to the proceeds as a security for his wages.”

The John Stevens, 170 U.S. 113, 119, 18 S. Ct. 544, 42 L. Ed. 969 (1898). See also International

Paint Co., Inc. v. M/V Mission Viking, 637 F.2d 382, 385 (5th Cir. 1981) (importance of crew

member’s lien for wages is “axiomatic”). By federal statute, the crew’s wage lien is among the

“preferred maritime liens” that take priority over a ship mortgage. See 46 U.S.C. §§ 31301(5)(D),



                                                       2
      2:20-cv-00334-RMG           Date Filed 05/17/20      Entry Number 73         Page 3 of 5




31326(b)(1). The law of the Vessel’s flag state, Liberia, appears to be the same. See Liberian Code

of Laws, Title 21, § 113.

       Intervention

       Federal Rule 24(a)(2) provides that the Court must permit anyone to intervene in an action

who files a timely motion and

   claims an interest relating to the property or transaction that is the subject of the action, and
   is so situated that disposing of the action may as a practical matter impair or impede the
   movant’s ability to protect its interest, unless existing parties adequately represent that
   interest.

See also Newport News Shipbuilding and Drydock Co. v. Peninsula Shipbuilders' Ass’n, 646 F.2d

117, 120 (4th Cir. 1981); Virginia v. Westinghouse Electric Corp., 542 F.2d 214, 216 (4th Cir.

1976). Although a motion to intervene must be timely, the court has “wide discretion in concluding

that an application for intervention is timely or untimely.” Brink v. DaLesio, 667 F.2d 420, 428

(4th Cir. 1982). The court is to “assess three factors: first, how far the underlying suit has

progressed; second, the prejudice any resulting delay might cause the other parties; and third, why

the movant was tardy in filing its motion.” Alt v. U.S. Envtl. Prot. Agency, 758 F.3d 588, 951 (4th

Cir. 2014)

       Here, the Crew claim an interest in the form of maritime liens against the Vessel to secure

their unpaid wages. As the Court’s Amended Order for Interlocutory Sale of Vessel notes, the

Vessel will be sold free and clear of all liens. (Entry No. 68 at p. 4). If the Crew does not appear

in this action and assert their claims to the proceeds of sale, their wage liens are in peril of being

extinguished. None of the other parties shares the Crew’s interest in collecting their wages. The

Crew’s ability to protect that interest will be impaired if the Crew is not permitted to intervene and

assert a claim for those wages.




                                                      3
      2:20-cv-00334-RMG              Date Filed 05/17/20          Entry Number 73           Page 4 of 5




        As for timeliness, this is a still a relatively recently-filed action. Another intervention

motion by a commercial claimant was filed last week and is still pending. (See Entry No. 71).

Although an interlocutory sale is imminent, the Crew does not ask to postpone that sale or modify

its terms. They seek only to protect their maritime lien rights in the proceeds of sale. As yet, there

has been no adjudication of the validity of the various claims against the Vessel or their priority,

nor has any proceeding been scheduled for that purpose. The Crew is informed and believes that

the parties to this case are aware of the Crew’s wage claims, the bulk of which appear to qualify

as custodia legis expenses. The Crew’s formal intervention through counsel will, if anything, speed

the process of ascertaining the amounts due the Crew from the proceeds of sale and arranging for

the payment of those amounts. 1

        The Crew have, moreover, been confined aboard the Vessel since its attachment, a difficult

predicament even in the absence of a global pandemic. The Crew’s straightened circumstances

should be considered in weighing the timeliness of their invention request. Seaman are, as many a

case has stated, the “wards of admiralty.” E.g. Harris v. Pennsylvania Railroad Co., 50 F.2d 866,

868 (4th Cir. 1931). “[T]he policy of the maritime law has ever been to see that they are accorded

proper protection by the vessels on which they serve.” The State of Maryland, 85 F.2d 944 (4th

Cir. 1936).

                                                     CONCLUSION

        For the above reasons, the Movants respectfully request the Court to grant their motion to

intervene, whereupon they will file a verified complaint in rem setting forth their respective

maritime lien claims for wages due and such other relief to which they may be entitled.



1
 The Crew have requested the parties’ consent to their invention. As of this filing, counsel for the Plaintiff and
defendant Smooth Navigation S.A. have consented, but the undersigned has not yet heard from the other parties and
deems it best to proceed with the filing of this Motion.

                                                            4
2:20-cv-00334-RMG       Date Filed 05/17/20   Entry Number 73       Page 5 of 5




                                              Respectfully Submitted,

                                              Julius H. Hines

                                              s/Julius H. Hines

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                                      F. Nufuar; Alan B. Pableo; Zaldy A. Ronquillo;
                                      Greene Gregory R. Sanchez; Joel T. Santillan;
                                      Arnel P. Silvan; Wilmer G. Verdeflor; Miller B.
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 Charleston, South Carolina

 May 17, 2020




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